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Law Offices of
ALAN R. SMITH
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ALAN R. SMITH, ESQ. #1449

HOLLY E. ESTES, ESQ. #11797

Law Offices of Alan R. Smith

505 Ridge Street ELECTRONICALLY FILED
Reno, Nevada 89501 June 24, 2014
Telephone (775) 786-4579

Facsimile (775) 786-3066

Email: mail@asmithlaw.com

Attorney for Debtors

ANTHONY THOMAS and WENDI

THOMAS and AT EMERALD, LLC

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
—oo0000—
In Re: Case No. BK-N-14-50333-BTB

Case No. BK-N-14-50331-BTB
ANTHONY THOMAS and
WENDI THOMAS, Chapter 11 Cases

[Jointly Administered]
AT EMERALD, LLC,

NOTICE OF ENTRY OF ORDER
SHORTENING TIME FOR NOTICE
AND HEARING ON MOTION TO SELL
ASSETS FREE AND CLEAR OF LIENS

Debtors.
Hearing Date: July 1, 2014
Hearing Time: 2:30 p.m.
/

 

PLEASE TAKE NOTICE that the above-entitled Court entered an Order Shortening
Time For Notice and Hearing On Motion To Sell Assets Free and Clear of Liens [DE 92] on
the 24" day of June, 2014 (“Order”). A copy of said Order is attached hereto as Exhibit “A”

and made a part hereof.

PLEASE ALSO TAKE NOTICE that the hearing to consider approval of the Motion
To Sell Assets Free And Clear Of Liens And Motion To File Purchase And Sale Agreement
Under Seal shall be conducted on July 1, 2014 at 2:30 p.m. in the United States Bankruptcy

 

Court, in the Clifton Young Federal Building, 300 Booth Street, Bankruptcy Courtroom-2,

Fifth Floor, Reno, Nevada. Any opposition may be filed and served upon Debtors’ attorney

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by facsimile, email or personal delivery no later that June 27, 2014. Replies may be filed

 

and served no later than 12:00 Noon, on June 30, 2014.
DATED this 24" day of June, 2014.
LAW OFFICES OF ALAN R. SMITH
By: /s/ Alan R. Smith

ALAN R. SMITH, ESQ.
Attorney for Debtors

 

 

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Law Offices of
ALAN R. SMITH
505 Ridge Street

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By Taal,

Honorable Bruce T. Beesley
United States Bankruptcy Judge

 

 

Tere on Docket

e 24, 2014

ALAN R. SMITH, ESQ. #1449

HOLLY E. ESTES, ESQ. #11797

Law Offices of Alan R. Smith

505 Ridge Street ELECTRONICALLY LODGED
Reno, Nevada 89501 June 24, 2014

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Email: mail@asmithlaw.com
Attorney for Debtors

ANTHONY THOMAS and WENDI
THOMAS and AT EMERALD, LLC

UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
—ooQ00—
In Re: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB
ANTHONY THOMAS and Chapter 11 Cases

WENDI THOMAS,
[Jointly Administered]

AT EMERALD, LLC, ORDER SHORTENING TIME FOR
NOTICE AND HEARING ON MOTION
TO SELL ASSETS FREE AND CLEAR
OF LIENS

Debtors. Hearing Date: OST Pending
/ Hearing Time: OST Pending

 

The Court having considered the Debtors’ Ex Parte Motion For Order Shortening
Time For Notice And Hearing On Debtors’ Motion To Sell Assets Free And Clear Of Liens
And Motion To File Purchase And Sale Agreement Under Seal, and good cause appearing
therefor,

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IT IS HEREBY ORDERED that the Motion For Order Shortening Time is granted,
and the hearing to consider approval of the Motion To Sell Assets Free And Clear Of Liens
And Motion To File Purchase And Sale Agreement Under Seal shall be conducted on

 

 

July 1 »2014 at__2:30 p.m. Any opposition may be filed

and served upon Debtors’ attorney by facsimile, email or personal delivery no later than
line 27 , 2014. Replies may be filed and served no later than

12:00 Noon, June 30 _» 2014, Service of this Order Shortening Time For Notice

 

And Hearing On Debtors’ Motion To Sell Assets Free And Clear Of Liens And Motion To
File Purchase And Sale Agreement Under Seal shall be completed by
June 24 , 2014.
IT IS SO ORDERED
PREPARED AND SUBMITTED BY:
LAW OFFICES OF ALAN R. SMITH
By: /s/ Holly E. Estes

HOLLY E. ESTES, ESQ.
Attorney for Debtors

 

 

Hi

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